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                            United States District Courts
                                       WESTERN DISTRICT OF TEXAS

United States of America                                             WARRANT FOR ARREST

v.
                                                        Case Number:
(1) Abdul-Rahman Umar                                   DR:22-M -00609(1)



To: The United States Marshal
    and any Authorized United States Officer


YOU ARE HEREBY COMMANDED to arrest                                      (1) Abdul-Rahman Umar
                                                                                    Name

and bring him or her forthwith to the nearest magistrate to answer a(n)

     Indictment     Information    X Complaint    Order of Court     Violation Notice      Probation Violation Petition

charging him or her with (brief description)

On March 13, 2022, the DEFENDANT, Umar, Abdul-Rahman, entered the United States illegally by
wading across the Rio Grande River from Mexico to Del Rio, Texas and failed to report to immigration
officials at an official Port of Entry to avoid scrutiny by officers at the Port of Entry. Umar, was
apprehended shortly after crossing the Rio Grande River and provided a sworn statement to Immigration
Officials in which he admitted that he entered the United States illegally. Subject was apprehended in Del
Rio, Texas located in the Western District of Texas.

in violation of Title             19         United States Code, Section(s)      1459(a)


COLLIS WHITE                                                  UNITED STATES MAGISTRATE JUDGE
Name of Issuing Officer                                       Title of Issuing Officer




______________________________                                March, 23, 2022 DEL RIO, Texas
Signature of Issuing Officer                                  Date and Location



Bail Fixed at $                                    by
                                                              Name of Judicial Officer


                                                 RETURN
This warrant was received and executed with the arrest of the above-name defendant at DEL RIO, Texas.
Date Received              Name and Title of Arresting Officer    Signature of Arresting Officer
      March 23, 2022
Date of Arrest             Lozano, Bruno
      March 13, 2022       Border Patrol Agent
